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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR06-394-MJP
 9
                                   Plaintiff,
10
            v.                                            SUMMARY REPORT OF
11                                                        U.S. MAGISTRATE JUDGE AS
12   CHARLENE RUBARB NORRIS,                              TO ALLEGED VIOLATIONS
                                                          OF SUPERVISED RELEASE
13                                 Defendant.

14
            An initial hearing on a petition for violation of supervised release was held before the
15
     undersigned Magistrate Judge on February 15, 2011. The United States was represented by
16
     Assistant United States Attorney Karyn Johnson and the defendant by Stephan Illa.
17
            The defendant had been charged and convicted of Mail Theft (2 Counts), in violation of
18
     18 U.S.C.§ 1708. On or about March 16, 2007, defendant was sentenced by the Honorable
19
     Marsha J. Pechman, to a term of 12 months and 1 day in custody, to be followed by 3 years of
20
     supervised release.
21
            The conditions of supervised release included the requirements that the defendant
22
     comply with all local, state, and federal laws, and with the standard conditions. Special
23
     conditions imposed included, but were not limited to, participation in substance abuse and
24
     mental health programs, financial disclosure, $1,093.37 restitution, possess no firearms, submit
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     to search, maintain single checking account, surrender any and all documents related to any
26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
          Case 2:06-cr-00394-MJP          Document 107         Filed 02/15/11     Page 2 of 3




 1   business, disclose all assets and liabilities, no new credit without USPO approval, no self-

 2   employment without approval, do not possess any form of I.D. in any other name and complete

 3   180 days RRC.

 4          In a Petition for Warrant or Summons, dated February 14, 2011, U.S. Probation Officer

 5   Stephen R. Gregoryk asserted the following violation by defendant of the conditions of her

 6   supervised release:

 7          1.      Using methamphetamine on or before January 14, 2011, in violation of standard

 8                  condition No. 7.

 9          2.      Using heroin on or before February 9, 2011, in violation of standard condition

10                  No. 7.

11          3.      Using methamphetamine on or before February 14, 2011, in violation of

12                  standard condition No. 7.

13          The defendant was advised of her rights, acknowledged those rights, and admitted to

14   alleged violation numbers 1, 2 and 3.

15          I therefore recommend that the Court find the defendant to have violated the terms and

16   conditions of her supervised release as set forth in violation numbers 1, 2 and 3, and that the

17   Court conduct a hearing limited to disposition. A disposition hearing on these violations has

18   been set before the Honorable Marsha J. Pechman on March 4, 2011 at 9:00 a.m.

19          Pending a final determination by the Court, the defendant has been detained.

20          DATED this 15th day of February, 2011.
21

22
                                                   A
                                                   JAMES P. DONOHUE
23                                                 United States Magistrate Judge

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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
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     cc:    District Judge:         Honorable Marsha J. Pechman
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            AUSA:                   Karyn Johnson
 2          Defendant’s attorney:   Stephan Illa
            Probation officer:      Steven R. Gregoryk
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 3
